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 1                                   UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                     ***
 4     AURORE SIMS,                                              Case No. 2:24-cv-00831-CDS-EJY
 5                    Plaintiff,
 6            v.                                                              ORDER

 7     ASSIA SOUILY-LEFAVE et al.
 8                    Defendants.
 9

10            Filed with the Court is the second unexecuted Summons for individually named Defendant
11     Assia Souily-Lefave. ECF No. 39. Plaintiff previously sought permission to serve Defendant
12     Souily-LeFave through alternative means; however, the Court denied that request, without prejudice,
13     and ordered further attempts at personal service. ECF No. 21. Those attempts at service were
14     unsuccessful. ECF No. 39. Since that time, Defendant Around Vegas LLC-1 Day In Las Vegas has
15     made an appearance through counsel. Around Vegas LLC is closely associated with Defendant
16     Souily-LeFave. The Court is inclined to allow alternative service to proceed. Before doing so, the
17     Court, through this Order, requires the following:
18            •    A courtesy copy of the Complaint (ECF No. 7), the Court’s Amended Screening
                   Order (ECF No. 8), and Summons issued for Souily-LeFave (ECF No. 9 at 1-
19                 2) are hereby provided to counsel for Around Vegas LLC, David Liebrader
                   through the Court’s CM/ECF system.
20
              •    Mr. Liebrader must file a status report with the Court stating whether he is
21                 authorized to accept service and does accept service on behalf of Defendant
                   Souily-LeFave. The status report must be filed no later than August 12, 2024.
22
              •    If service is accepted on behalf of Souily-LeFave, the responsive pleading will
23                 be due 60 days thereafter as is customary when service by mail is effected.
24            IT IS SO ORDERED this 31st day of July, 2024.
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26
                                                    ELAYNA J. YOUCHAH
27                                                  UNITED STATES MAGISTRATE JUDGE
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